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 4

 5 Attorney for:
   Rigoberto Nunez
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                              CASE NO. 2:17-CR-00149 TLN
10
                                      Plaintiff,            STIPULATION REGARDING EXCLUDABLE
11                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                            FINDINGS AND ORDER TO CONTINUE CASE
12                                                          TO SEPTEMBER 12. 2019 AT 9:30 A.M.
     Rigoberto Nunez,
13   Oscar Andrade,
     Oscar Rodriguez,
14                                    Defendants

15
                                                        STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Andrade
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     represented by Attorney Dina Santos; Defendant Oscar Rodriguez, represented by David Fischer, hereby
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     stipulate as follows:
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            1.       By previous order, this matter was set for status on July 25, 2019.
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            2.       By this stipulation, defendants now move to continue the status conference until
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     September 12, 2019, at 9:30 a.m., and to exclude time between July 25, 2019, and September 12 2019,
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     under Local Codes T4 and M. Plaintiff does not oppose this request. The Defense continues to conduct
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     investigation, review discovery and negotiate with the Government.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)      Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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      Stipulation and Order Continuing Status Conf. &        1
      Excluding Time Periods Under Speedy Trial Act
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 1          grant the above-requested continuance would deny them the reasonable time necessary for

 2          effective preparation, taking into account the exercise of due diligence. The government does

 3          not object to the continuance.

 4                   b)      Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                   c)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period July 25, 2019, and September 12

 9          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10          T4] for Mr. Nunez and Mr. Andrade, because it results form a continuance granted by the Court

11          at defendants request on the basis of the Court’s finding that the ends of justice served by taking

12          such action outweigh the best interest of the public and the defendants in a speedy trial.

13                   d)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161,

14          et seq., within which trial must commence, the time period of July 25, 2019, and September 12,

15          2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

16          M]: unavailability of a defendant for Mr. Rodriguez.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: July 18, 2019                                        /s/ James Conolly
                                                               JAMES CONOLLY
22                                                             Assistant United States Attorney

23

24 Dated: July 18, 2019                                    /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
25                                                         Attorney for Rigoberto Nunez
26
     Dated: July 18, 2019                                  /s/ Dina L. Santos
27                                                         DINA L. SANTOS, ESQ.
                                                           Attorney for Oscar Andrade
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      Stipulation and Order Continuing Status Conf. &      2
      Excluding Time Periods Under Speedy Trial Act
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 2 Dated: July 18, 2019                                  /s/ David Fischer
                                                         DAVID FISCHER, ESQ.
 3
                                                         Attorney for Oscar Rodriguez
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 6                                                     ORDER
 7         IT IS SO FOUND AND ORDERED this 22nd day of July, 2019.
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                                                         Troy L. Nunley
12                                                       United States District Judge
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     Stipulation and Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
